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          Fax: (559) 264-0240
      5
          Attorney for Defendant
      6   Juan Rosas
      7

      8                      IN THE UNITED STATES DISTRICT COURT
      9                    FOR THE EASTERN DISTEICT OF CALIFORNIA
     10

     11   UNITED STATES OF AMERICA,                ) Case No.: 1:05-cr-00349-OWW
                                                   )
     12               Plaintiff,                   ) STIPUALATION AND ORDER TO
                                                   ) CONTINUE JURY TRIAL
     13         vs.                                )
                                                   )
     14   JUAN ROSAS,                              ) Dated: October 17, 2006
                                                   ) Time: 1:00 P.M.
     15               Defendant.                   ) Judge: Oliver W. Wanger
                                                   )
     16                                            )
                                                   )
     17

     18         IT IS HEREBY STIPULATED by and between the parties hereto
     19   through their respective counsel, Stanley A. Boone, Assistant
     20   United States Attorney, for Plaintiff United States, and Ian
     21   Heuston for defendant Juan Rosas, that the Jury Trial currently
     22   scheduled for 10/17/2006 be continued to 10/31/2006 at 1:00 p.m.
     23   in the above-entitled court.
     24         The parties also agree that the delay resulting from the
     25   continuance shall be excluded in the interests of justice,
     26   pursuant to 18 U.S.C. sec. 3161 (h)(8)(A).           The reason for the
     27   continuance is for further plea negotiations.



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                  Case 1:05-cr-00349-AWI Document 117 Filed 10/13/06 Page 2 of 2


      1   Dated: 10/12/2006
                                                 By      /s/ Stanley A. Boone____
      2
                                                         STANLEY A. BOONE
      3                                                  Assistant U.S. Attorney

      4
          Dated: 10/12/2006                              /s/ Ian F. Heuston_____
      5                                                  IAN F. HEUSTON
                                                         Attorney for Defendant
      6

      7

      8
                                            ************
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     10
                                                 ORDER

     11         IT IS SO ORDERED.

     12

     13   DATED: 10/12/06
                                                 /s/ Oliver W. Wanger
     14                                          OLIVER W. WANGER
                                                 U.S. DISTRICT COURT JUDGE
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